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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                        Plaintiff,
                                                              Case Number 08-20520
 v.                                                           Honorable David M. Lawson

 MAURICE PETERSON,

                   Defendant.
 ______________________________________/

         ORDER DENYING DEFENDANT’S MOTION TO REDUCE SENTENCE
                       PURSUANT TO 18 U.S.C. § 3582

        On March 25, 2009, the defendant, Maurice Peterson, pleaded guilty to one count of

 conspiracy to distribute and possess with intent to distribute 50 grams or more of cocaine base, one

 count of conspiracy to distribute and possess with intent to distribute five kilograms or more of

 cocaine, and one count of conspiracy to unlawfully use a communication facility to commit a drug

 trafficking offense. He was sentenced to 120 months imprisonment on the first two counts and

 forty-eight months imprisonment on the third, to be served concurrently.

        Now before the Court is the defendant’s motion to reduce his sentence under 18 U.S.C.

 § 3582(c). The defendant argues that he is entitled to have his sentence reduced because the United

 States Sentencing Commission, following the enactment of the Fair Sentencing Act of 2010, issued

 new and more lenient sentencing guidelines applicable to offenses involving crack cocaine. Those

 guidelines were made retroactive by the Sentencing Commission as of November 1, 2011.

        Under 18 U.S.C. § 3582(c)(2), a court may modify a term of imprisonment after it is imposed

 only under certain conditions:
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        [I]n the case of a defendant who has been sentenced to a term of imprisonment based
        on a sentencing range that has subsequently been lowered by the Sentencing
        Commission pursuant to 28 U.S.C. 994(o), upon motion of the defendant or the
        Director of the Bureau of Prisons, or on its own motion, the court may reduce the
        term of imprisonment, after considering the factors set forth in section 3553(a) to the
        extent that they are applicable, if such a reduction is consistent with applicable policy
        statements issued by the Sentencing Commission.

 (Emphasis added). The defendant argues that because the Sentencing Commission has reduced the

 crack cocaine guidelines and made them retroactive, and his crime involved the distribution of crack

 cocaine, he is entitled to a sentence reduction.

        The United State Court of Appeals for the Sixth Circuit has held that a defendant subjected

 to a statutory mandatory minimum sentence is not eligible for a sentence reduction under section

 3582(c)(2) because the guideline amendment does not lower the defendant’s applicable guideline

 range. United States v. Johnson, 564 F.3d 419, 423 (6th Cir. 2009). Subsequently, that court held

 that the Sentencing Commission’s amendment to a sentencing guideline range that does not affect

 a statutory mandatory minimum sentence will not provide the basis for a subsequent reduction of

 a sentence under section 3582(c)(2). United States v. McPherson, 629 F.3d 609, 611 (6th Cir. 2011).

        The Court believes that the defendant’s motion is governed by the precedent set forth in

 Johnson and McPhearson. Because the defendant’s sentence is based on the statutory mandatory

 minimum and not a sentencing guideline range that was later lowered by the Sentencing

 Commission, he is not eligible for relief.




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        Accordingly, it is ORDERED that the defendant’s motion for reduction of sentence under

 18 U.S.C. § 3582(c) [dkt. # 54] is DENIED.

                                                       s/David M. Lawson
                                                       DAVID M. LAWSON
                                                       United States District Judge

 Dated: November 30, 2011


                                                PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail on November 30, 2011.

                                                          s/Deborah R. Tofil
                                                          DEBORAH R. TOFIL




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